          Case 4:21-cv-00941-JM Document 16 Filed 11/29/21 Page 1 of 10




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                    Central Division

STONE WORKS, LLC,                                       )
                                                        )
                       Plaintiff,                       )
                                                        )
v.                                                      )       Case No. 4:21-cv-941
                                                        )
RANDY SIMS, MEGAN SIMS, WILLIAM                         )
THOMAS, STONE CONCEPTS, LLC, MARTY                      )
HESCH, and EDWARD FRALEY,                               )
                                                        )
                       Defendants.                      )

          DEFENDANT EDWARD FRALEY’S RESPONSE IN OPPOSITION TO
                     PLAINTIFF’S MOTION TO REMAND

       Defendant Edward Fraley (“Defendant Fraley”), for his Response in Opposition to Plaintiff

Stone Works, LLC’s Motion to Remand, states as follows:

       Plaintiff Stone Works, LLC (“Plaintiff”) has moved to remand, seemingly raising the issue

of whether its claims under the Computer Fraud and Abuse Act, 18 U.S.C. § 1030 (“CFAA”) and

The Defend Trade Secrets Act, 18 U.S.C. § 1836 (“DTSA”) assert a substantial federal question

for purposes of removal. However, Plaintiff’s Motion to Remand does not establish that its

Complaint fails to raise a substantial federal question. Instead, Plaintiff seems to argue that the

state law claims are more substantial than the federal claims and that somehow the weight of the

state law claims is a basis for remand. In reality, however, courts simply do not engage in this sort

of balancing test to determine whether a federal court has jurisdiction.

       Plaintiff also seems to argue that a state court is a more appropriate court to address both

the federal and state law claims than this Court. Plaintiff asserts that “[t]here is no dispute that the

Pulaski County Circuit Court is the proper Court to hear the Arkansas claims.” Motion to Remand

[Doc. 13], ¶ 7. Further, Plaintiff argues that “[t]he state court can properly render a decision on all

                                                   1
           Case 4:21-cv-00941-JM Document 16 Filed 11/29/21 Page 2 of 10




claims raised in Plaintiff’s Verified Complaint for Damages . . .” Id. at ¶ 13. This argument of

course ignores the principle of supplemental jurisdiction.

         Ultimately, removal was appropriate and the Court should deny Plaintiff’s Motion to

Remand because: (1) Plaintiff has asserted claims in Counts III and V under federal law for which

this Court has original jurisdiction; and (2) this Court has supplemental jurisdiction over the state

law claims.1

         1. In Count III, Plaintiff has asserted a claim under the DTSA over which this Court
            has original jurisdiction.

         “Defendants may remove civil actions to federal court . . . if the claims could have been

originally filed in federal court.” Central Iowa Power Co-op v. Midwest Ind. Transmission Sys.

Operator, Inc., 561 F.3d 904, 912 (8th Cir. 2009), citing 28 U.S.C. § 1441(b); Gore v. Trans World

Airlines, 210 F.3d 944, 948 (8th Cir. 2000). Pursuant to 28 U.S.C. § 1331, this Court has original

jurisdiction over all civil actions arising under the Constitution, laws, or treaties of the United

States. Further, “[o]riginal federal jurisdiction is available . . . if ‘it appears that some substantial,

disputed question of federal law is a necessary element of one of the well-pleaded state claims, or

that one or the other claim is ‘really’ one of federal law.’” White v. Buchanan, No. 2:19-CV-00163-

JM, 2020 WL 921179 at *2 (E.D. Ark. 2020), quoting Franchise Tax. Bd. of Cal. v. Const.

Laborers Vacation Tr. For S. California, 463 U.S. 1 (1983). “Jurisdiction is established . . . if a

federal question is presented on the face of the plaintiff’s properly pleaded complaint.” Id., citing

Phipps v. FDIC, 417 F.3d 1006, 1010 (8th Cir. 2005). “Because the plaintiff is considered the




1
  Notably, even Plaintiff seems to have anticipated this case may properly be removed to federal court, as the “Relief
Requested” section of Plaintiff’s Complaint states that it “seeks monetary damages in excess of the federal
jurisdictional limits.” Complaint [Doc. 4], ¶ 90.

                                                          2

                                                                                                        SPR 17589282.1
            Case 4:21-cv-00941-JM Document 16 Filed 11/29/21 Page 3 of 10




master of his complaint, he may elect to avoid federal removal jurisdiction by relying solely on

state law.” Moriconi v. AT&T Wireless PCS, LLC, 280 F.Supp.2d 867 (E.D. Ark. 2003).

          On the face of its Complaint, Plaintiff has alleged a claim under federal law in Count III.

In this claim, alleged against “All Defendants,” Plaintiff states:

          Defendants Sims and Defendant Thomas stole, took, or fraudulently and
          deceptively obtained . . . information, including computer data, financial
          information, customer information, design and bid information, employee files;
          Defendants Sims and Defendant Thomas without authorization duplicated,
          downloaded, uploaded, altered, destroyed, copied, transmitted, delivered, sent and
          conveyed the information; Defendants Fraley, Centurion, Stone Concepts, LLC and
          Defendant Hesch received or possessed such information knowing it to have been
          stolen or appropriated, obtained or converted without authorization” and “[t]he
          confidential and proprietary information illegally taken is information used in
          interstate commerce by the Plaintiff. This information was willfully and
          maliciously misappropriated by the Defendants and, therefore, all Defendants are
          liable for damages caused by the misappropriation pursuant to the Federal
          Protection of Trade Secrets Act. See 18 U.S.C. 1836.2

Complaint [Doc. 4], ¶¶ 44-45. As pled, Count III asserts a distinct claim under the DTSA. Only

in later paragraphs does Plaintiff assert a separate claim under Ark. Code Ann. § 4-75-604.

Therefore, this is not a situation where this Court even has to determine whether there is a

substantial federal question presented in a state law claim. Plaintiff has asserted a federal claim

under the DTSA for which this Court has original jurisdiction.

          In fact, Plaintiff’s intention to assert a separate and distinct claim under the DTSA is further

evidenced by Plaintiff’s own description of Count III as stated in the Motion to Remand, where

Plaintiff states verbatim:

          Plaintiff agrees that Plaintiff necessarily raised the violations of the federal statutes
          cited in Count III and Count V of Plaintiff’s Complaint. Proving that Defendants
          stole, misappropriated, and otherwise improperly utilized trade secrets is material
          to proving violations of the federal statutes included in Plaintiff’s Complaint as
          well as the State law violations that accompany them.



2
    Plaintiff has misstated the name of DTSA, but the citation for the DTSA is correct.
                                                  3

                                                                                              SPR 17589282.1
          Case 4:21-cv-00941-JM Document 16 Filed 11/29/21 Page 4 of 10




Motion to Remand [Doc. 13], ¶ 9 [emphasis added].

        Plaintiff seems to suggest that because the same facts may underlie both the DTSA claim

and the related Arkansas state law claim, this somehow requires both claims to be decided by an

Arkansas state court. This is not the law. The fact that Plaintiff has asserted separate claims under

Arkansas law for “Theft of Trade Secrets” does not cure or negate the fact that Plaintiff has brought

a claim under federal law for which this Court has original jurisdiction and for which removal was

appropriate.   In fact, it is quite common for plaintiffs to assert claims under the DTSA

simultaneously with similar state laws. For instance, in C. Pepper Logistics v. Lanter Delivery

Sys., the plaintiff asserted claims under the DTSA, the Missouri Uniform Trade Secrets Act, and

the Illinois Trade Secrets Act. See No. 4:20-cv-01444-MTS, 2021 WL 3725680, at *2 (E.D. Mo.

2021). The court found that “Defendants properly removed [the] case on federal-question grounds

under 28 U.S.C. § 1331 based on Plaintiffs’ CFAA, DTSA, and 49 U.S.C. § 14704 claims.” See

id. at *11.

        2. In Count V, Plaintiff has asserted a claim under the CFAA, over which this Court
           also has original jurisdiction.

        Count V likewise provides a basis for federal question jurisdiction under the CFAA. “The

CFAA criminalizes various fraudulent or damaging activities related to the use of computers.”

Baldor Elec. Co. v. Kelderman, No. 4:12-CV-0409-JAJ, 2013 WL 12253062, at * 3 (S.D. Iowa

2013) (quoting Lasco Foods, Inc. v. Hall & Shaw Sales, Marketing, & Consulting, LLC, 2009 WL

3523986, at *2 (E.D. Mo. 2009)). The “CFAA recognizes ‘private causes of action for individuals

damaged by computer fraud. . .” Id.

        In Count V, alleged against “All Defendants,” Plaintiff expressly invokes the provisions of

the CFAA when it alleges:



                                                 4

                                                                                         SPR 17589282.1
         Case 4:21-cv-00941-JM Document 16 Filed 11/29/21 Page 5 of 10




       “Defendants accessed the Plaintiff’s private servers and databases through their
       Plaintiff employee logins to secretly take the Plaintiff’s confidential and proprietary
       and other business information,” and “[t]he action taken by Defendants constitute
       felonious criminal conduct under federal and Arkansas law, including (a) Fraud
       and related activity in connection with computers. See 18 U.S.C. 1030.

Complaint [Doc. 4], ¶¶ 57-58.

       The CFAA has been found to “clearly” raise a federal question where, “[o]n its face” a

“complaint . . . predicates its cause of action upon an alleged violation of CFAA” and “a right to

recover under the . . . laws of the United States.” NCMIC Fin. Corp. v. Artino, No. 4:07-cv-00204-

JEG, 2008 WL 11334182, at *7 (S.D. Iowa 2008) [emphasis added]; see also C. Pepper Logistics

2021 WL 3725680, at *11 (E.D. Mo. 2021) (holding “Defendants properly removed this case on

federal-question grounds . . . based on Plaintiffs’ CFAA [and] DTSA . . . claims.”).

       3. This Court has supplemental jurisdiction over the state law claims.

       In addition to its jurisdiction over the DTSA and CFAA claims, this Court may exercise

supplemental jurisdiction over Plaintiff’s remaining claims pursuant to 28 U.S.C. § 1367 and 28

U.S.C. § 1441(c) because such claims “derive from a common nucleus of operative fact.” See

OnePoint Solutions v. Borchert, 486 F.3d 342 (8th Cir. 2007) (quoting Myers v. Richland County,

429 F.3d 740, 746 (8th Cir. 2005)). “Supplemental, or pendant, jurisdiction exists where ‘the

relationship between [the federal question] claim and the state claim permits the conclusion that

the entire action before the court comprises but one constitutional ‘case.’” Boston Scientific

SciMed, Inc. v. ev3, Inc., 2007 WL 2493117, at *4 (D. Minn. 2007) (quoting United Mine Workers

of Am. v. Gibbs, 383 U.S. 715, 726 (1966)).

       For instance, in NCMIC Fin. Corp., NCMIC had employed the defendant “as vice president

of its equipment leasing division.” See 2008 WL 11334182, at *1. The defendant signed an

employment agreement that contained, among other things, a confidentiality provision. Id. The


                                                 5

                                                                                         SPR 17589282.1
            Case 4:21-cv-00941-JM Document 16 Filed 11/29/21 Page 6 of 10




defendant ultimately resigned from his position and subsequently emailed NCMIC’s confidential

customer information to his personal email address. Id. NCMIC began to suspect that the

defendant was making unauthorized use of the confidential customer information and later learned

that the defendant’s email of the confidential customer information to his personal email caused a

security breach that required NCMIC to purchase identity theft protection for dozens of customers.

Id. at 2. “NCMIC filed . . . suit allegation violations of the [CFAA] and several state laws.” Id.

The court determined that, “[p]rovided the Court has proper subject-matter jurisdiction over

NCMIC’s CFAA claim, the Court has supplemental subject-matter jurisdiction over NCMIC’s

state law claims because those claims ‘are so related to claims in the action within which original

jurisdiction that they form part of the same case or controversy under Article III of the United

States Constitution.’” Id. at n. 3.

        The Complaint here alleges claims for (I) Conversion; (II) Tortious Interference with

Business Expectancy; (III) Theft of Trade Secrets (under the DTSA and Arkansas law); (IV)

Breach of Fiduciary Duty and Duty of Loyalty; (V) Unauthorized Computer Program Access and

Theft (under the CFAA and Arkansas law); (VI) Unauthorized Access to Property; (VII) Civil

Conspiracy; (VIII) Breach of Employment Agreement, Non-Disclosure Agreement, and Non-

Compete Agreement; (IX) Violation of Arkansas Deceptive Trade Practices.

        The basis for Plaintiff’s federal claims is the alleged misappropriation, use, and/or retention

of Plaintiff’s alleged confidential and proprietary information by Defendants. Those same

allegations form the basis of Plaintiff’s state law claims, in that:

        -    Count I, Conversion: This claim alleges conversion of the exact same electronic

             information that forms the basis of Plaintiff’s claims under the DTSA and CFAA;




                                                   6

                                                                                           SPR 17589282.1
    Case 4:21-cv-00941-JM Document 16 Filed 11/29/21 Page 7 of 10




-    Count II, Tortious Interference with Business Expectancy: This claim alleges that

     Defendants used the information wrongfully obtained in violation of the DTSA and

     CFAA to interfere with Plaintiff’s business expectancies;

-    Count III, Theft of Trade Secrets: The state law claim for Theft of Trade Secrets is

     premised upon the theft of the same alleged trade secret information that forms the

     basis of the DTSA claim;

-    Count IV, Breach of Fiduciary Duty and Duty of Loyalty: The basis for this claim

     is that Defendants Sims and Thomas’s use of the information wrongfully obtained in

     violation of the DTSA and CFAA was also a breach of fiduciary duty and the duty of

     loyalty;

-    Count V, Unauthorized Computer Program Access and Theft: The state law claim

     for Unauthorized Computer Program Access and Theft is premised upon the same

     unauthorized access and theft that forms the basis of the CFAA claim;

-    Count VI, Unauthorized Access to Property: This claim alleges that Defendants

     physically captured and removed the data, records, and documentation that forms of

     the basis of Plaintiff’s claims under the CFAA and DTSA;

-    Count VII, Civil Conspiracy: This claim alleges that the Defendants “knowingly

     entered in a conspiracy to access and steal. . .misuse . . .interfere with . . .” etc., the

     same information that forms the basis of Plaintiff’s claims under the CFAA and DTSA;

-    Count VIII, Breach of Employment Agreement, Non-Disclosure Agreement, and

     Non-Compete Agreement: The basis of this claim is that Defendants Sims and

     Thomas’s conduct in violation of the DTSA and CFAA was also a violation of their

     employment and non-disclosure agreements; and


                                           7

                                                                                    SPR 17589282.1
           Case 4:21-cv-00941-JM Document 16 Filed 11/29/21 Page 8 of 10




       -    Count IX, Violation of Arkansas Deceptive Trade Practices: This claim is premised

            upon Plaintiff’s assertion that the same exact conduct that forms the basis of the DTSA

            and CFAA claims also constitutes “unconscionable, false and deceptive acts and

            business practices.”

       Each and every claim in this case is premised upon the same nucleus of facts. In order for

Plaintiff to recover on any of these claims, Plaintiff will have to establish that the same

misappropriation or misuse of information occurred. This Court thus has supplemental jurisdiction

over Plaintiff’s state law claims because they form part of the same case or controversy as its

claims clearly and expressly arising under federal law.

       4. Conclusion

       Plaintiff was the master of its Complaint. As such, Plaintiff could have chosen to pursue

claims based solely under Arkansas law. It did not do so. Plaintiff instead asserted federal claims

under the DTSA and CFAA. This Court thus has original subject matter jurisdiction over

Plaintiff’s Complaint. Additionally, each and every state law claim asserted in Plaintiff’s

Complaint is related to Plaintiff’s federal claims and, as such, this Court has, and should, exercise

supplemental jurisdiction. Plaintiff’s Motion to Remand should be denied.

       WHEREFORE, Defendant Edward Fraley respectfully requests that this Court deny

Plaintiff’s Motion to Remand and for such other relief as the Court deems just and proper.




                                                 8

                                                                                         SPR 17589282.1
         Case 4:21-cv-00941-JM Document 16 Filed 11/29/21 Page 9 of 10




                                                 Respectfully submitted,

                                                 SPENCER FANE LLP

                                                        Jason C. Smith
                                                 Jason C. Smith AR #2006103
                                                 2144 E. Republic Road, Suite. B300
                                                 Springfield, Missouri 65804
                                                 (417) 888-1000
                                                 (417) 881-8035 (facsimile)
                                                 jcsmith@spencerfane.com


                                                 and

                                                   H. E. Cummins___________
                                                 H. E. “Bud” Cummins AR 89010
                                                 The Law Offices of Bud Cummins
                                                 1818 N. Taylor St. #301
                                                 Little Rock, AR 72207
                                                 bud@budcumminslaw.com

                                                 Attorneys for Defendant Edward Fraley


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 29th day of November 2021, a true and
accurate copy of the foregoing instrument was filed with the Court’s electronic filing system,
which sent notice of such filing to:

   Rickey Hicks
   902 West Second St.
   Little Rock, AR 72201
   hickslawoffice@yahoo.com

   Timothy Dudley
   10201 W. Markham, Ste. 328
   Little Rock, AR 72205
   todudley@swbell.net
   Attorneys for Defendants Sims




                                                9

                                                                                       SPR 17589282.1
     Case 4:21-cv-00941-JM Document 16 Filed 11/29/21 Page 10 of 10




Dustin McDaniel
Scott Richardson
McDaniel, Wolff & Benca, PLLC
1307 West Fourth St.
Little Rock, AR 72201
scott@mwbfirm.com
Attorneys for Stone Concepts, LLC
And Hesch

Erin Cassinelli
Lassiter & Cassinelli
300 S. Spring St., Suite 800
Little Rock, AR 72201
erin@clarklaw.com
Attorney for Plaintiff

Timothy Giattina
Hodge, Calhoun Giattina, PLLC
711 W.3rd St.
Little Rock, AR 72201
tim@hcglawoffice.com
Attorney for Plaintiff

Patrick R. James
James House Swann & Downing P.A.
Post Office Box 3585
Little Rock, AR 72203-3585
501-372-6555
Email: pjames@jamesandhouse.com
Attorney for Plaintiff

   The undersigned hereby certifies further that on this 29th day of November 2021, a true
and accurate copy of the foregoing instrument was mailed via U.S. Regular Mail postage
prepaid to Pro Se Defendant William Thomas, 1205 Anemone Dr., North Little Rock, AR
72117.


                                                    Jason C. Smith
                                                   Attorney of Record




                                           10

                                                                                 SPR 17589282.1
